        Case 6:21-cv-00084-RBD-EJK Document 24 Filed 02/10/21 Page 1 of 4 PageID 156


AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Middle District of Florida    [:)

                     ADRIANNA FLAGG                                )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. 6:21-cv-84-RBD-EJK
                                                                   )
   WALGREEN CO.; ENCOMPASS ONSITE, LLC,                            )
 (Florida LLC); ENCOMPASS ONSITE LLC (Foreign
                                                                   )
  LLC); ENCOMPASS S&C, LLC (Florida LLC) and
        ENCOMPASS S&C LLC (Foreign LLC),                           )
                                                                   )
                           Defendant(s)                            )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defe ndant's name and address) ENCOMPASS ONSITE, LLC, a Foreign Limited Liability Company
                                       c/o Registered Agent Valerie Kiffin-Lewis
                                       401 Northwest 77th Avenue
                                       Fort Lauderdale, FL 33311




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                       THE MITCHELL LAW FIRM, P.A.
                                       Attn: Joe M. Mitchell 111, Esq.
                                       134 5th Avenue, Suite 103
                                       Indialantic, FL 32903
                                       Tel (321) 473-7330
                                       eservice@themitchelllawfirm.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT
                                                                                                         KarinaCummings


            February 10, 2021
Date:   ----------
                                                                                          Signature of Clerk or Deputy Clerk
        Case 6:21-cv-00084-RBD-EJK Document 24 Filed 02/10/21 Page 2 of 4 PageID 157


AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
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                                                     Middle District of Florida   El
                     ADRIANNA FLAGG                              )
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                            Plaintiff(s)                         )
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                                V.                                       Civil Action No. 6:21-cv-84-RBD-EJK
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   WALGREEN CO.; ENCOMPASS ONSITE, LLC,                          )
 (Florida LLC); ENCOMPASS ONSITE LLC (Foreign
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                                                                 )
                           Defendant(s)                          )

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                                                                            CLERK OF COURT               KarinaCummings




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                                                                                       Signature of Clerk or Deputy Clerk
        Case 6:21-cv-00084-RBD-EJK Document 24 Filed 02/10/21 Page 3 of 4 PageID 158


AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                    Middle District of Florida   G
                     ADRIANNA FLAGG                             )
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                            Plaintiff(s)                        )
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                                                                )
                           Defendant(s)                         )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defe ndant 's name and address) ENCOMPASS B&C, LLC, a Foreign Limited Liability Company
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         Middle District of Florida   [:]

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Date:       February 10, 2021
                                                                                            Signature of Clerk or Deputy Clerk
